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                                     UNITED STATES DISTRICT COURT
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                              OAKLAND DIVISION
13

14   UNITED STATES OF AMERICA,                     ) CASE NO. 4:23-cr-00110-YGR
                                                   )
15           Plaintiff,                            ) JOINT PROPOSED PRETRIAL DEADLINES
                                                   )
16      v.                                         )
                                                   )
17   DARRELL WAYNE SMITH,                          )
     a/k/a “Dirty Dick Smith,”                     )
18                                                 )
             Defendant.                            )
19                                                 )

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     JOINT PROPOSED PRETRIAL DEADLINES             1
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 1          On April 18, 2024, the Court set this matter for trial beginning on March 17, 2025. The Court

 2 ordered the parties to meet and confer regarding other pretrial deadlines, and to file a joint proposal for

 3 pretrial deadlines. A status conference is currently scheduled for September 5, 2024, to discuss these

 4 proposed deadlines.

 5          The parties propose that the Court enter the following dates and times for hearings and filing

 6 deadlines.

 7                                   EVENT                                                DATE
 8   Deadline to meet and confer regarding Proposed Jury Instructions,       January 31, 2025
     Voir Dire Questions, Exhibits, Stipulations, and Joint Statement of
 9   the Case
10
     Exchange of Motions in Limine                                           February 7, 2025
11
     Filing of additional proposed questions for written juror
12   questionnaire

13   Exchange of Oppositions to Motions in Limine                            February 14, 2025
14   Filing of Unresolved Motions in Limine                                  February 21, 2025
15   Stipulations of Fact (if any)
16
     Exhibit List
17
     Witness List
18
     Submission of Trial Exhibits to Court
19
     Additional Jury Voir Dire Questions (if any)
20
     Proposed Jury Instructions
21
     Proposed Verdict Form
22
     Government Trial Memorandum
23

24   Joint Statement of the Case

25   Joint Pretrial Conference Statement

26   Pretrial Conference/Motions in Limine Hearing                           February 28, at 9:30 a.m.

27   Deadline to exchange any visuals, graphics, or exhibits for opening     March 12, 2025
     statements
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     JOINT PROPOSED PRETRIAL DEADLINES                2
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 1                                 EVENT                                               DATE
 2   Jury Selection                                                        March 13, 2025, at 8:00 a.m.
 3   Objections to any visuals, graphics, or exhibits for opening          March 13, 2025
     statements
 4

 5   Telephonic Hearing to Address Objections to Opening Statements        March 14, 2025
     (if necessary)
 6

 7
     Trial                                                                 March 17, 2025, at 8:00 a.m.
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     DATED: August 27, 2024                                     /s/ Andrew Paulson
11                                                              MOLLY K. PRIEDEMAN
                                                                ANDREW PAULSON
12                                                              Assistant United States Attorneys
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14 DATED: August 27, 2024                                       /s/ Naomi Chung
                                                                NAOMI CHUNG
15                                                              JOANNA P. SHERIDAN
                                                                Attorneys for the Defendant
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     JOINT PROPOSED PRETRIAL DEADLINES              3
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